Case 2:03-cr-20343-.]Pl\/l Document 180 Filed 05/11/05 Page 1 of 7 PagelD 231

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UN|TED STATES OF AN|ERICA

 

-V- 03-20343-01-D

KENNETH W. DANSBERRY
lVlichael J. Stengel, CJA
Defense Attorney
50 North Front Street, Suite 850
IVlemphis,Tennessee 38103

 

REV|SED* JUDG|VIENT lN A CR|N||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 -33 59 and 61 of the Superseding indictment on January 20 2004.
Accordingly, the court has adjudicated that the defendant` rs guilty of the following offense(s):

Date Offense Count
Title & Section Nature of Offense Conctuded Numbertsj
21 U.S.C. § 846 Conspiracy to distribute cocaine 09/24/2003 1
18 U.S.C. § 1966{a)(1) |V|oney laundering 08/28/2003 2-33
31 U.S.C. § 5324(a)(3) Structuring transactions to evade 08/28/2003 59
31 U.S.C. § 5322(b) reporting requirements
18 U.S.C. § 2
18 U.S.C. § 666 Theft from program receiving federal 03/31/2003 61
16 U.S.C. § 2 funds; aiding and abetting

The defendant is sentenced as provided in the following pages of this judgment The sentence is imposed
pursuant to the Sentencing Reform Act of 1984 and the Mandatory Victims Flestitution Act of 1996.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district Within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs and special
assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of Fte-lmposition of Sentence'_
Defendant`s Date of Birth: 07/04/1962 April 25, 2005
Deft’s U.S. lVlarshal No.: 19199-076

Thls document entered on the docket set in compliance
Defendant’s Ftesidence Address; With gauge 55 and/or 32(b) FHCrP on Ez"| 2 ’0,5
3741 Hanna

Memphis, TN 38128

QQ:QZJM

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Case 2:03-cr-20343-.]Pl\/l Document 180 Filed 05/11/05 Page 2 of 7 PagelD 232

Case No: 03-20343-01-D
Defendant Name: Kenneth W. Dansberry Page 2 of 6

HV|PR|SONNIENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of *ninety-six (96) months.

The Court recommends to the Bureau of F’risons;

*That defendant participate in the 500 hour drug rehabilitation program

The defendant is remanded to the custody of the United States l\flarsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES |VIARSl-lAL
By:

 

Deputy U.S. l\/larshal

Case 2:03-cr-20343-.]Pl\/l Document 180 Filed 05/11/05 Page 3 of 7 PagelD 233

Case No; 03-20343~01-D
Defendant Name: Kenneth W. Dansberry Page 3 of 6

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of five (5) years on Count 1, three (3) years on Counts 2-33, 59 and 61, to run
concurrently, for a total term of five (5) yearsl

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised releasel the defendant shail not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed bythe probation officer

The defendant shall comply with the following standard conditions that have been
adopted by this court

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4, The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooiing, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6 The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related tc such
substancesl except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed or administered;

8. The defendant shall not associate With any persons engaged in criminal activity, and shal! not associate
with any person convicted of a feiony unless granted permission to do so by the probation officer;

94 The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

Case 2:03-cr-20343-.]Pl\/l Document 180 Filed 05/11/05 Page 4 of 7 PagelD 234

Case No: 03-20343»01-D
Defendant Name: Kenneth W. Dansberry Page 4 of 8

10_ The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11 The defendant shall not enter into any agreement to act as an informer or a speciai agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal l\/lonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. *The defendant shall participate as directed in a program of mental health treatment
approved by the Probation Officer. Further, the defendant shall be required to contribute to
the costs of services for such treatment not to exceed an amount determined reasonable
by the Probation Officer based on ability to pay or availability of third party payment and in
conformance with the Probation Office’s Sliding Scale for lVlental Health Treatment Services.

3. The defendant shall provide the Probation Officer access to any requested financial
information.
4. The defendant shall make 3{d party risk notification

5. *The defendant shall cooperate in the collection of DNA as directed by the F’robation Officer.

Case 2:03-cr-20343-.]Pl\/l Document 180 Filed 05/11/05 Page 5 of 7 PagelD 235

Case No: 03-20343-01-D
Defendant Name: Kenneth W. Dansberry Page 5 016

CR|N||NAL NIONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). Al| of the payment
options in the Schedu|e of F’ayments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

Totat Assessment Total Fine Total Ftestitution

$3,500.00 $5,000.00 $30,000.00

The Special Assessment shall be due immediatelyl

FlNE

A Fine in the amount of $ 5,000.00 is imposed

REST|TUT|ON

Restitution in the amount of $30,000.00 is hereby ordered The defendant shall make
restitution to the following victims in the amounts listed below.

Priority Order

Total Amount Amount of or Percentage
Name 01 payee of Loss Restitution Ordered of Pay_ment
l\/lemphis Police Department $30,000.00 $30,000.00

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othen~ise in the priority orderorpercentage payment column
above

The amount of loss and the amount of restitution ordered will be the same unless, pursuant
to 18 U.S.C. § 3664(1)(3)(8), the court orders nominal payments and this is reflected in the
Statement of Reasons page.

Case 2:03-cr-20343-.]Pl\/l Document 180 Filed 05/11/05 Page 6 of 7 PagelD 236

Case No; 03-20343-01-|3
Defendant Name'l Kenneth W. Dansberry Page 6 of 6

SCHEDULE OF PAYN|ENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments in the amount
of 10% of gross income (i.e., total income from all sources before deductions,
exemptions or other tax reductions.) The interest requirement shall be waived

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonmentl payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons' lnmate Financia| Ftesponsibility Program, are made to the Clerk of
the Coun, unless otherwise directed by the court, the probation officer, or the United States
Attorney.

The defendant shall receive credit forall payments previously made toward any criminal monetary
penalties imposed

UNITED `SESTAT DISTRIC COUR - WTERN D'S'TRCT OFTENNESSEE

    

Notice of Distribution

This notice confirms a copy of the document docketed as number 180 in
case 2:03-CR-20343 Was distributed by faX, mail, or direct printing on
May ]2, 2005 to the parties listedl

 

 

Thomas A. Colthurst

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Stc. 800

Memphis7 TN 38103

Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Stc. 850

Memphis7 TN 38103--111

Honorable Bernice Donald
US DISTRICT COURT

